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     IN THE UNITED STATES DISTRICT COURT
     FOR THE DISTRICT OF COLORADO
     Civil Action No. 22-CV-01965

     CARA FUNK

                                    Plaintiff,

     v.

     BADGER COAST, LLC

                             Defendant.
     ________________________________________________________________________

                                   COMPLAINT
     ________________________________________________________________________


            Plaintiff Cara Funk (“Plaintiff” or “Ms. Funk”), by and through her attorney, as

     and for her complaint against Defendant Badger Coast, LLC (“Defendant”), alleges as

     follows:

                                                 I. CLAIM

            1.      Ms. Funk, a person with a physical disability and mobility impairments,

     brings this action for declaratory and injunctive relief, attorney’s fees, costs, and

     litigation expenses against Defendant for violations of Title III of the Americans with

     Disabilities Act, 42 U.S.C. §§12181, et seq. (“ADA”), and its attendant regulations, the

     Americans with Disabilities Act Accessibility Guidelines (“ADAAG”).

             2.     Defendant refused to provide Ms. Funk and others similarly situated with

     sufficient ADA-compliant parking in the parking lot that serves The Point Bar & Grill. At

     the Colorado Springs location, there is no ADA-compliant van-accessible space on the

     shortest access route to the main entrance. There is no disabled parking.

             Based on these facts, Defendant has denied Ms. Funk the ability to enjoy the



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     goods, services, facilities, privileges, advantages, and accommodations at The Point Bar

     & Grill.


                                II. JURISDICTION AND VENUE

            3.      This Court has subject matter jurisdiction over this action pursuant to 28

     U.S.C. §1331 and §1343(a)(3) & (a)(4) for violations of the Americans with Disabilities

     Act of 1990, 42 U.S.C. §12101, et seq.

            4.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), as the

     events complained of occurred in Colorado Springs, Colorado, where the The Point Bar

     & Grill business is located.


                                           III. PARTIES

            5.      Plaintiff Cara Funk is a resident of Denver, Colorado. Ms. Funk has a

     disability and mobility impairments, as established by the Federal government and the

     Social Security Administration. Ms. Funk has a disabled placard on her vehicle from the

     State of Colorado. Ms. Funk has significant mobility impairments and uses assistive

     devices for mobility. She is a “qualified individual with a disability” within the meaning

     of ADA Title III.

            6.      Defendant Badger Coast, LLC owns, manages, controls, and leases the

     improvements and building where the The Point Bar & Grill is situated. The address of

     The Point Bar & Grill is 1545 S. 8th St, Colorado Springs, CO 80905. The business is a

     place of public accommodation, operated by a private entity, whose operations affect

     commerce within the meaning of Title III of the ADA.

            7.      Defendant Badger Coast, LLC is the owner of the property. Defendant is a




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     domestic limited liability company whose headquarters is 1545 S. 8th St, Colorado

     Springs, CO 80905. Defendant can be served process via service to its Registered Agent:

     Joseph Winston at 1009 S Tejon St, Colorado Springs, CO 80903.


                                 IV. FACTUAL BACKGROUND

            8.      The Point Bar & Grill is a business establishment and place of public

     accommodation in Colorado Springs, Colorado. The Point Bar & Grill is situated on real

     estate, property, and improvements owned, controlled, managed, and leased out by

     Badger Coast, LLC.

            9.      The Point Bar & Grill is not accessible to disabled individuals because it

     has zero ADA-compliant van-accessible parking spaces near the main entrance. At the

     Colorado Springs location, there is no ADA-compliant van-accessible space (96” space

     with 96” side access aisle) on the shortest access route to the main entrance. There is no

     disabled parking.

            10.     Pictures taken at the location prove this:




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     The Point Bar & Grill business in Colorado Springs, CO. There is no ADA-compliant
     van-accessible space (96” wide with 96” side access aisle) on the shortest route to the
     main entrance. No disabled parking.




     The Point Bar & Grill business in Colorado Springs, CO. There is no ADA-compliant
     van-accessible space (96” wide with 96” side access aisle) on the shortest route to the
     main entrance. No disabled parking.


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     The Point Bar & Grill business in Colorado Springs, CO. There is no ADA-compliant
     van-accessible space (96” wide with 96” side access aisle) on the shortest route to the
     main entrance. No disabled parking.




     The Point Bar & Grill business in Colorado Springs, CO. There is no ADA-compliant
     van-accessible space (96” wide with 96” side access aisle) on the shortest route to the
     main entrance. No disabled parking.


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            11.     The Plaintiff went to The Point Bar & Grill property in October of 2021.

            12.     In encountering and dealing with the lack of an accessible facility, the

     Plaintiff experienced difficulty and discomfort. These violations denied Plaintiff the full

     and equal access to facilities, privileges and accommodations offered by the Defendant.

     Plaintiff intends to return to The Point Bar & Grill. By not having an ADA-compliant

     parking area, the Plaintiff’s life is negatively affected because she is not able to safely

     remove her mobility assistance devices without fear of being struck by a vehicle. This

     causes the Plaintiff depression, discomfort, and emotional stress and the Plaintiff is

     prevented from resuming a normal lifestyle and enjoying access to businesses in her area.

            13.     Additionally, on information and belief, the Plaintiff alleges that the

     failure to remove the barrier was intentional because: (1) this particular barrier is intuitive

     and obvious; (2) the Defendant exercised control and dominion over the conditions at this

     location and, therefore, the lack of accessible facilities was not an “accident” because

     Defendant intended this configuration; (3) Defendant has the means and ability to make

     the change; and (4) the changes to bring the property into compliance are “readily

     achievable.”

             14.    The Defendant’s Colorado Springs location does not have the required

     number of ADA parking spaces. With 1-25 parking spaces, Defendant must have one

     ADA-compliant van-accessible space (96” Wide with 96” Side Access Aisle) with a sign.

     This space must be located on the shortest accessible route to the main entrance of the

     business. See pictures above.

            15.     At the Colorado Springs location, there are no ADA-compliant van-

     accessible spaces on the shortest access route to the main entrance. There is no disabled

     parking on the property whatsoever.


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             16.     The Americans with Disabilities Act (ADA), 42 U.S.C. §12101, has been

     federal law for 30 years. This is a blatant violation of the ADA.


               V. CLAIM FOR RELIEF - VIOLATION OF THE AMERICANS
                   WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12101

             17.     Plaintiff repleads and incorporates by reference, as if fully set forth at

     length herein, the allegations contained in all prior paragraphs of this complaint.

             18.     Under the ADA, it is an act of discrimination to fail to ensure that the

     privileges, advantages, accommodations, facilities, goods and services of any place of

     public accommodation are offered on a full and equal basis by anyone who owns, leases,

     or operates a place of public accommodation. See 42 U.S.C. § 12182(a). Discrimination

     is defined, inter alia, as follows:

                     a.      A failure to make reasonable modifications in policies practices, or

             procedures, when such modifications are necessary to afford goods, services,

             facilities, privileges, advantages, or accommodations to individuals with

             disabilities, unless the accommodation would work a fundamental alteration of

             those services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).

                     b.      A failure to remove architectural barriers where such removal is

             readily achievable. 42 U.S.C. § 12182(b)(2) (A)(iv). Barriers are defined by

             reference to the ADAAG, found at 28 C.F.R., Part 36, Appendix “D.”

                     c.      A failure to make alterations in such a manner that, to the

             maximum extent feasible, the altered portions of the facility are readily accessible

             to and usable by individuals with disabilities, including individuals who use

             wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to



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            the altered area and the bathrooms, telephones, and drinking fountains serving the

            altered area, are readily accessible to and usable by individuals with disabilities.

            42 U.S.C. § 12183(a)(2).

            19.    Pursuant to 28 C.F.R., Part 36, Appendix D (herein after “1991

     Standards”), section 4.1.2, and 36 C.F.R., Part 1191, Appendix B (herein after “2010

     Standards”), section 208.2, if a business provides between 1 and 25 parking spaces,

     Defendant must have at least one ADA-compliant van-accessible space (96” Wide with

     96” Side Access Aisle) near the business entrance.

            20.     Here, the Defendant did not provide a sufficient number of ADA-

     compliant parking spaces in its parking lot, although doing so is easily and readily done,

     and therefore violated the ADA. At the Colorado Springs location, there are no ADA-

     compliant van-accessible spaces on the shortest access route to the main entrance. There

     is no disabled parking on the property whatsoever.


                                       VI. RELIEF REQUESTED

     Injunctive Relief

            21.     Ms. Funk will continue to experience unlawful discrimination as a result

     of Defendant’s refusal to comply with the ADA. Injunctive relief is necessary so she and

     all individuals with disabilities can access the Defendant’s property equally, as required

     by law, and to compel Defendant to repave and restripe the parking lot to comply with

     the ADA. Injunctive relief is also necessary to compel Defendant to keep the property in

     compliance with federal law.




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     Declaratory Relief

               22.   Ms. Funk is entitled to declaratory judgment concerning Defendant’s

     violations of law, specifying the rights of individuals with disabilities to access the goods

     and services at the Defendant’s location.

               23.   The facts are undisputed and Defendant’s non-compliance with the ADA

     has been proven through on-site photographs. Plaintiff proves a prima facie case of ADA

     violations by the Defendant.



     Attorney’s Fees and Costs

               24.   Plaintiff is entitled to reasonable attorney’s fees, litigation costs, and court

     costs, pursuant to 42 U.S.C. §12205.



                                    VII. PRAYER FOR RELIEF

               THEREFORE, Ms. Funk respectfully requests this Court award the following

     relief:

               A.    A permanent injunction, compelling Defendant to comply with the

     Americans with Disabilities Act; and enjoining Defendant from violating the ADA and

     from discriminating against Ms. Funk and those similarly situated, in violation of the law;

               B.    A declaratory judgment that Defendant’s actions are a violation of the

     ADA;

               C.    Find that Ms. Funk is the prevailing party in this action, and order

     Defendant liable for Plaintiff’s attorney’s fees, costs, and litigation expenses; and,

               D.    Grant such other and additional relief to which Plaintiff may be entitled in

     this action.


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         DATED: August 5, 2022     Respectfully,

                                   By:    /s/ R. Bruce Tharpe
                                          R. Bruce Tharpe

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